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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 1:23-cv-24094-BB

 STRIKE 3 HOLDINGS, LLC, a limited liability
 company,

        Plaintiff,

 v.

 JOHN DOE subscriber assigned IP address
 73.49.237.100, an individual,

        Defendant.

                                                  /

       [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR LEAVE
   TO SERVE A THIRD PARTY SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE

        THIS CAUSE came before the Court upon Plaintiff’s Motion for Leave for Serve a

 Third Party Subpoena Prior to a Rule 26(f) Conference (the “Motion”), and the Court being duly

 advised in the premises does hereby:

        FIND, ORDER AND ADJUDGE:

        1.      Plaintiff established that “good cause” exists for it to serve a third party subpoena

 on Comcast Cable (hereinafter the “ISP”). See e.g., Clear Skies Nevada, LLC v. Doe, No. CV

 15-1987-ORL-40TBS, 2015 WL 1293850, at *1 (M.D. Fla. Dec. 3, 2015); Malibu Media, LLC v.

 Doe, No. CV 15-2314-T-17TBM, 2015 WL 12856086, at *1 (M.D. Fla. Nov. 6, 2015).

        2.      Plaintiff may serve the ISP with a Rule 45 subpoena commanding the ISP to

 provide Plaintiff with the true name and address of the Defendant to whom the ISP assigned an

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 IP address as set forth on Exhibit A to the Complaint. Plaintiff shall attach to any such subpoena

 a copy of this Order.

           3.     If the ISP qualifies as a “cable operator,” as defined by 47 U.S.C. § 522(5), which

 states:

           the term “cable operator” means any person or group of persons


           (A) who provides cable service over a cable system and directly or through one
               or more affiliates owns a significant interest in such cable system, or

           (B) who otherwise controls or is responsible for, through any arrangement, the
               management and operation of such a cable system.

 it shall comply with 47 U.S.C. § 551(c)(2)(B), which states:

           A cable operator may disclose such [personal identifying] information if the
           disclosure is . . . made pursuant to a court order authorizing such disclosure, if the
           subscriber is notified of such order by the person to whom the order is directed.

 by sending a copy of this Order to the Defendant.

           4.     Plaintiff may only use the information disclosed in response to a Rule 45

 subpoena served on the ISP for the purpose of protecting and enforcing Plaintiff’s rights as set

 forth in its Complaint.

           DONE AND ORDERED this ___ day of ________________, 202___.


                                          By: ____________________________________
                                               UNITED STATES DISTRICT JUDGE




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